Case 2:05-cr-20181-SH|\/| Document 10 Filed 06/14/05 Page 1 of 2 Page|D 11

 

5"£‘.¢‘.':?,} ;` t`; r"
IN THE UNITED STATES DISTRICT COURT /}/Y`"/:q
FoR THE WESTERN DISTRICT oF TENNESSEE 15 355 g h mr E: 03
WESTERN DIVISION
»‘itji ,- ,- 7 I`é§ `i"i?:l§"'i ;{:}-
" E"_l';i"-., l._i.':}`. EIST'. CT.

.§.;;. "ft"._l_'.?t f`JF l"§\i, |"\,GEii/?Fi"li$

UNITED S'I`ATES OF AMERICA

V.

VERLES MORRIS 05cr20181-Ma

 

ORDER ON ARRAIGNMENT

 

Thr`s cause came to be heard onl %//M /3/ 206 the United States Attorney
for this district appeared on behalf of the\%vernrnent, and the defendant appeared in person and with
counsel:

NAME j W% who is Retalned/AM,

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in c stody, may stand on his present bond.
¢£'Fh` e defendant, (not haga%ri;de bond) (be;r(\g,aéate prisoner) (being/{federal
prisoner) (being held Without bond pursuant to BR of 1984), is remanded to the custody

of the U.S. Marshal.

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18:922g
firearms

Attorney assigned to Case: S. Hall

Age: 5 5

This document entered on the docket sheet in compatch ,- /6
with ama 55 and/or aaib) FaorP on § ' /§f “g§ d U

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20181 was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

PDA

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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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Honorable Samuel Mays
US DISTRICT COURT

